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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 15-CIV-61736-BLOOM/Valle

  ALEXSAM, INC.,

         Plaintiff/Counterclaim Defendant,

  v.

  WILDCARD SYSTEMS, INC.,
  eFUNDS CORPORATION, and
  FIDELITY NATIONAL INFORMATION
  SERVICES, INC,

        Defendants/Counterclaim Plaintiffs.
  ________________________________________/


                                              ORDER

         THIS CAUSE is before the Court on Plaintiff Alexsam, Inc.’s (“Plaintiff”) Motion to

  Dismiss Certain Affirmative Defenses and Counterclaims, ECF No. [18], and Plaintiff’s Motion

  for Remand, ECF No. [19]. The Court has carefully reviewed the Motions, all supporting and

  opposing submissions, the record in this case and applicable law. For the reasons set forth below,

  Plaintiff’s Motion to Dismiss Certain Affirmative Defenses and Counterclaims is granted in part

  and denied in part and Plaintiff’s Motion for Remand is denied.

                                          I. Background

         Plaintiff is the owner of United States Patent No. 6,000,608 entitled “Multifunction Card

  System” (the “608 Patent”) and United States Patent No. 6,189,787 entitled “Multifunctional

  Card System” (the “787 Patent”) (collectively, the “Licensed Patents”). Mot. to Dismiss at 1. In

  2004, Alexsam sued WildCard in the United States District Court for the Eastern District of

  Texas in a civil action, Alexsam, Inc. v. FSV Payment Systems, Ltd. Et al., 2-03CV337 (the
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  “Litigation”) for infringement of the Licensed Patents.1 Id. In July 2005, Alexsam and WildCard

  settled the Litigation by executing a “Settlement and License Agreement” (the “Settlement

  Agreement”) and stipulating to dismissal with prejudice. The Settlement Agreement includes a

  provision in which Alexsam granted a license to WildCard for the Licensed Patents in exchange

  for royalty payments by WildCard, along with definitions of the types of activities covered by

  the license. See Settlement Agreement, ECF No. [5-5]. The Settlement Agreement is to remain in

  full force and effect for the life of the Licensed Patent unless either party breaches any provision

  of the Agreement or “the claims of the Licensed Patents are held invalid or unenforceable by a

  court of competent jurisdiction, in which case the term of [the] Agreement shall end upon the

  date all appeals . . . have been exhausted.” Id. at ¶ 10. The Settlement Agreement also contains

  the following releases:

          9. Releases. Alexsam and its Affiliates release WildCard, its Affiliates, officers,
          directors, employees, and agents from any and all claims and/or counterclaims
          that were or could have been brought against WildCard or its Affiliates, officers,
          directors, employees and agents based upon any past activity of same. WildCard
          releases Alexsam, its officers, Affiliates, directors, employees, and agents from
          any and all claims and/or counterclaims that were or could have been brought
          against Alexsam, or its Affiliates, officers, directors, employees and agents based
          upon any past activity of same.

  Id. at ¶ 9.

          On June 12, 2015, Plaintiff filed a complaint for breach of contract against

  Defendants/Counterclaimants WildCard Systems, Inc. (“WildCard”), eFunds Corporation

  (“eFunds”), and Fidelity National Information Services, Inc. (“FIS”) (collectively, “Defendants”)

  in the Circuit Court of the 17th Judicial Circuit in and for Broward County, Florida. Compl.,

  ECF No. [5-1]. In that Complaint, Plaintiff alleges that Defendants failed to adhere to the express


                                                              
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     WildCard, although not named in the original complaint filed, was included in the Litigation as of the
  filing of the Third Amended Complaint.

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  terms of the Settlement Agreement. Plaintiff asserts that Defendants have not paid the full

  amount owed to Alexsam under the terms of the Settlement Agreement—specifically, that

  “Defendants have never paid any royalties owed to Alexsam for transactions related to pre-paid

  debit cards sold by any company other than Ace Hardware” and that “transactions related to

  Simon pre-paid debit cards are covered by the [Settlement] Agreement, and thus, Alexsam

  should have been and continue to be paid for such transactions in accordance with the royalty

  amounts set forth in the [Settlement] Agreement.” Compl. at ¶ 24-25.

         In their Answer, Defendants assert ten separate defenses to Plaintiff’s Complaint,

  including Non-Practice/Non-Infringement of the Patents, Invalidity of the Patents, and

  Prosecution History Estoppel, as well as three counterclaims seeking declaratory judgments as to

  Non-Infringement of the Patents (Count I), Invalidity of the Patents (Count II), and No Breach of

  the License Agreement (Count III). See Answer, ECF No. [5-5].

  On August 19, 2015, Defendants filed a Notice of Removal, ECF No. [1], removing the state

  court action to this Court pursuant to 28 U.S.C. § 1331, 1338, 1441, and 1454. See Notice of

  Removal. In support of removal, Defendants asserted that Plaintiff’s “claims in the State Court

  Action depend heavily on patent issues such as patent claim coverage, prosecution history

  estoppel, and patent invalidity, such that a federal question is presented on the face of the

  Complaint despite [Plaintiff’s] careful drafting.” Id. at ¶ 3. Defendants also argue that Plaintiff

  terminated the Settlement Agreement in 2009, “fully precluding any basis for its Complaint and

  [that] the allegations of the Complaint therefore constitute a claim for patent infringement.” Id.

         Plaintiff’s first Motion seeks to dismiss the patent-related affirmative defenses and

  counterclaims raised by Defendants in their Answer, arguing that these defenses and

  counterclaims have already been dismissed with prejudice. Plaintiff also maintains that


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  Defendant’s patent-related defenses and counterclaims should be dismissed for lack of subject

  matter jurisdiction for failure to meet the requirements of the Declaratory Judgment Act. See

  Mot. to Dismiss.

         Plaintiff also moves to remand this case to the Circuit Court of the 17th Judicial Circuit in

  and for Broward County, Florida. According to Plaintiff, its Motion for Remand is premised, in

  part, on the assumption that Plaintiff’s Motion to Dismiss will be granted, under 28 U.S.C. §

  1447. In the alternative, Plaintiff seeks remand of its state law breach of contract claims under 28

  U.S.C. § 1454(d). The Court will address each Motion in turn.



                                    II. MOTION TO DISMISS

      A. Standard of Review

        i.    Rule 12(b)(6)

         A pleading in a civil action must contain “a short and plain statement of the claim

  showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To satisfy the Rule 8

  pleading requirements, a complaint must provide the defendant fair notice of what the plaintiff’s

  claim is and the grounds upon which it rests. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512,

  (2002). While a complaint “does not need detailed factual allegations,” it must provide “more

  than labels and conclusions” or “a formulaic recitation of the elements of a cause of action.” Bell

  Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

  (explaining that the Rule 8(a)(2) pleading standard “demands more than an unadorned, the-

  defendant-unlawfully-harmed-me accusation”). Nor can a complaint rest on “‘naked assertion[s]’

  devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

  557 (alteration in original)). The Supreme Court has emphasized that “[t]o survive a motion to


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  dismiss a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

  relief that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570); see also Am. Dental

  Assoc. v. Cigna Corp., 605 F.3d 1283, 1288-90 (11th Cir. 2010).

         When reviewing a motion to dismiss, a court, as a general rule, must accept the plaintiff’s

  allegations as true and evaluate all plausible inferences derived from those facts in favor of the

  plaintiff. See Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012); Miccosukee

  Tribe of Indians of Fla. v. S. Everglades Restoration Alliance, 304 F.3d 1076, 1084 (11th Cir.

  2002); AXA Equitable Life Ins. Co. v. Infinity Fin. Grp., LLC, 608 F. Supp. 2d 1349, 1353 (S.D.

  Fla. 2009) (“On a motion to dismiss, the complaint is construed in the light most favorable to the

  non-moving party, and all facts alleged by the non-moving party are accepted as true.” ); Iqbal,

  556 U.S. at 678. A court considering a Rule 12(b) motion is generally limited to the facts

  contained in the complaint and attached exhibits, including documents referred to in the

  complaint that are central to the claim. See Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 959

  (11th Cir. 2009); Maxcess, Inc. v. Lucent Technologies, Inc., 433 F.3d 1337, 1340 (11th Cir.

  2005) (“[A] document outside the four corners of the complaint may still be considered if it is

  central to the plaintiff’s claims and is undisputed in terms of authenticity.”) (citing Horsley v.

  Feldt, 304 F.3d 1125, 1135 (11th Cir. 2002)). While the court is required to accept as true all

  allegations contained in the complaint, courts “are not bound to accept as true a legal conclusion

  couched as a factual allegation.” Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678. “Dismissal

  pursuant to Rule 12(b)(6) is not appropriate ‘unless it appears beyond doubt that the plaintiff can

  prove no set of facts in support of his claim which would entitle him to relief.’” Magluta v.

  Samples, 375 F.3d 1269, 1273 (11th Cir. 2004) (quoting Conley v. Gibson, 355 U.S. 41, 45-46

  (1957)).


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        ii.   Rule 12(b)(1)

          A court may dismiss a complaint when it lacks subject matter jurisdiction under Fed. R.

  Civ. P. 12(b)(1). A Rule 12(b)(1) motion takes one of two forms: a “facial attack” or a “factual

  attack.” “A ‘facial attack’ on the complaint ‘require[s] the court merely to look and see if [the]

  plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and the allegations in his

  complaint are taken as true for the purposes of the motion.’” McElmurray v. Consol. Gov’t of

  Augusta-Richmond Cnty., 501 F.3d 1244, 1251 (11th Cir. 2007) (quoting Lawrence v. Dunbar,

  919 F.2d 1525, 1529 (11th Cir. 1990)). “A ‘factual attack,’ on the other hand, challenges the

  existence of subject matter jurisdiction based on matters outside the pleadings.” Kuhlman v.

  United States, 822 F. Supp. 2d 1255, 1256-57 (M.D. Fla. 2011) (citing Lawrence, 919 F.2d at

  1529); see Stalley ex rel. U.S. v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229, 1233 (11th

  Cir. 2008) (“By contrast, a factual attack on a complaint challenges the existence of subject

  matter jurisdiction using material extrinsic from the pleadings, such as affidavits or testimony.”).

  Defendant here has posed a factual attack on the Court’s jurisdiction.

          “[I]n a factual attack, the presumption of truthfulness afforded a plaintiff under Federal

  Rule of Civil Procedure 12(b)(6) does not attach, and the court is free to weigh the evidence.”

  Scarfo v. Ginsberg, 175 F.3d 957, 960 (11th Cir. 1999). That is, the court may look beyond the

  four corners of the complaint so long as they relate to jurisdictional issues, hear conflicting

  evidence and decide the factual issues that determine jurisdiction. Lawrence, 919 F.2d at 1529;

  Colonial Pipeline Co. v. Collins, 921 F.2d 1237, 1243 (11th Cir. 1991). Further, “courts may use

  their judicial experience and common sense in determining whether the case stated in a

  complaint meets federal jurisdictional requirements.” Roe v. Michelin N. Am., Inc., 613 F.3d

  1058, 1062 (11th Cir. 2010).


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                Federal Circuit law precedent governs the determination of whether the court has subject

  matter jurisdiction in patent matters. See Minn. Mining & Mfg. Co. v. Norton Co., 929 F.2d 670,

  672 (Fed. Cir. 1991).

                B. Discussion

                Plaintiff moves to dismiss the patent-related affirmative defenses and counterclaims

  raised by Defendants in their answer, arguing that these defenses and counterclaims have already

  been dismissed with prejudice. Plaintiff also maintains that Defendant’s patent-related defenses

  and counterclaims should be dismissed for lack of subject matter jurisdiction for failure to meet

  the requirements of the Declaratory Judgment Act. See Mot. to Dismiss.

               i.        Termination of the Settlement Agreement

                Defendants assert that Plaintiff terminated the Settlement Agreement in 2009, “fully

  precluding any basis for its Complaint and [that] the allegations of the Complaint therefore

  constitute a claim for patent infringement.” Notice of Removal at ¶ 3. Both parties have spilled

  much ink on the issue of whether the Settlement Agreement is still validly in place. However,

  whether the Settlement Agreement was breached or terminated early is a question of fact and one

  that the Court cannot resolve at this stage of the pleadings.2 For purposes of these Motions, the

  Court will conduct its analysis under the presumption that the Settlement Agreement is still in

  place.

              ii.        Res Judicata



                                                              
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        A settlement agreement is “essentially a contract and is subject to the traditional rules of
  contract interpretation.” Norfolk Southern Corp v. Chevron, U.S.A., Inc., 371 F.3d 1285, 1290
  (11th Cir. 2004). Plaintiff has adequately alleged the elements of a breach of contract claim
  under Florida law. See J.J. Gumberg Co. v. Janis Servs., Inc., 847 So. 2d 1048, 1049 (Fla. 4th DCA
  2003) (“The elements of a breach of contract action are: (1) a valid contract; (2) a material breach; and (3)
  damages.”).  

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         Plaintiff argues that Defendants, in the prior litigation in the Eastern District of Texas,

  “have had their opportunity to challenge the validity of the licensed patent and to argue that their

  products do not infringe, and then agreed to dismiss their claims with prejudice.” Mot. to

  Dismiss at 7. Res judicata, or claim preclusion, “bars a subsequent claim when a court of

  competent jurisdiction entered a final judgment on the merits of the same cause of action in a

  prior lawsuit between the same parties.” Pleming v. Universal-Rundle Corp., 142 F.3d 1354,

  1356 (11th Cir. 1998). When the parties consent to a dismissal based upon a settlement

  agreement, “the principles of res judicata apply (in a somewhat modified form) to the matters

  specified in the settlement agreement, rather than the original complaint.” Id. “In determining the

  res judicata effect of an order of dismissal based upon a settlement agreement, we should also

  attempt to effectuate the parties' intent”—the best evidence of which is the settlement agreement

  itself. Id. Indeed, “a judgment dismissing an action with prejudice based upon the parties'

  stipulation, unlike a judgment imposed at the end of an adversarial proceeding, receives its

  legitimating force from the fact that the parties consented to it.” Norfolk S. Corp. v. Chevron,

  U.S.A., Inc., 371 F.3d 1285, 1288-89 (11th Cir. 2004).

         Defendants argue, however, that their counterclaims are not precluded as “the underlying

  facts in this case are different than the prior action because it alleges that—after execution of the

  Agreement and dismissal of the previous litigation—Defendants may have underreported

  royalties ‘from on or before June 12, 2010, to the present.’” Resp. to Mot. to Dismiss at 10, 11

  (citing Moore v. Pak, 402 F.App’x 491, 493 (11th Cir. 1998) (“The preclusion of claims that

  could have been brought in earlier litigation does not include claims that arose after the original

  complaint was filed in the prior action, unless the plaintiff actually asserted the claim in

  supplemental pleadings or otherwise.”) (internal quotation and citation omitted)). The principle


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  of res judicata “typically precludes not only the specific claims brought in the complaint, but any

  other claims that stem ‘out of the same nucleus of operative fact, or is based upon the same

  factual predicate.’” Norfolk, 371 F.3d at 1290 (citing Ragsdale v. Rubbermaid, Inc, 193 F.3d

  1235, 1239 (11th Cir. 1999)). However, when a court’s dismissal is predicated upon a settlement

  agreement, “to preclude a wider range of matters than those specified in the [a]greement would

  frustrate the parties’ expressed intent.” Id. at 91 (holding that a settlement agreement releasing an

  oil company for contamination of a salt marsh did not preclude claims related to later

  contamination from leaking oil storage tanks at the same site). Whether Defendants’

  counterclaims are covered by and, therefore, precluded under the Settlement Agreement is

  beyond what this Court is required to consider and analyze on a motion to dismiss. This is a

  question better suited for consideration on a motion for summary judgment.

         In further support of its Motion, Plaintiff cites to Flex-Foot, Inc. v. CRP, Inc., in which

  the Federal Circuit held that

         [o]nce an accused infringer has challenged patent validity, has had an opportunity
         to conduct discovery on validity issues, and has elected to voluntarily dismiss the
         litigation with prejudice under a settlement agreement containing a clear and
         unambiguous undertaking not to challenge validity and/or enforceability of the
         patent in suit, the accused infringer is contractually estopped from raising any
         such challenge in any subsequent proceeding.

  238 F.3d 1362, 1370 (Fed. Cir. 2001).

         However, it is unclear at this stage of the litigation whether the conditions set forth in

  Flex-Foot have been met here. Although Plaintiff maintains that Defendants had ample

  opportunity to litigate its position before entering into the Settlement Agreement, Defendants

  counter that Plaintiff has failed to allege or show that Defendants had a full opportunity to

  conduct discovery on validity issues. Additionally, it is uncertain whether the Settlement

  Agreement contained a “clear and unambiguous undertaking not to challenge validity and/or

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  enforceability of the patent in suit.” Indeed, the Settlement Agreement itself contains a clause

  providing for termination of the Agreement should the claims of the Licensed Patents be held

  invalid or unenforceable by a court of competent jurisdiction. See ECF No. [5-5] at ¶ 11. This

  Court, therefore, cannot determine, on a motion to dismiss, whether Defendants’ counterclaims

  are precluded or contractually estopped.

       iii.   Declaratory Judgment Act

              a. Count II

          Under the Declaratory Judgment Act, “[i]n a case of actual controversy within its

  jurisdiction, . . . any court of the United States, upon the filing of an appropriate pleading, may

  declare the rights and other legal relations of any interested party seeking such declaration,

  whether or not further relief is or could be sought.” 28 U.S.C.A. § 2201. Pursuant to the plain

  language, a district court’s ability to grant relief under the Act is permissive, and while the Act

  “gives the federal courts competence to make a declaration of rights[,] it does not impose a duty

  to do so.” Ameritas Variable Life Ins. Co. v. Roach, 411 F.3d 1328, 1330 (11th Cir. 2005) (citing

  Brillhart v. Excess Ins. Co. of America, 316 U.S. 491, 494 (1942)). Accordingly, courts retain

  broad discretion over whether or not to exercise jurisdiction under the Act. Knights Armament

  Co. v. Optical Sys. Tech., Inc., 568 F. Supp. 2d 1369, 1374 (M.D. Fla. 2008). Further, the Act

  confers jurisdiction only “[i]n a case of actual controversy.” See 28 U.S.C. § 2201. This actual

  controversy requirement “is jurisdictional and, thus, ‘a threshold question in an action for

  declaratory relief must be whether a justiciable controversy exists.’” Odyssey Marine

  Exploration, Inc. v. Unidentified, Shipwrecked Vessel or Vessels, 512 F. App’x 890, 895 (11th

  Cir. 2013) (quoting U.S. Fire Ins. Co. v. Caulkins Indiantown Citrus Co., 931 F.2d 744, 747

  (11th Cir. 1991)).


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          Here, Plaintiff argues that because Plaintiff “has not, and cannot, accuse Defendants of

  infringement, Defendants’ invalidity claims are not supported by any real or imminent threat to

  support subject matter jurisdiction under the Declaratory Judgment Act.” Mot. to Dismiss at 11.

  However, Defendants have brought their invalidity claims as compulsory counterclaims to

  Plaintiff’s breach of contract suit filed in state court. See Fla. R. Civ. P. 1.170(a) (“A pleading

  shall state as a counterclaim any claim which at the time of serving the pleading the pleader has

  against any opposing party, provided it arises out of the transaction or occurrence that is the

  subject matter of the opposing party’s claim.”). As discussed supra, the Settlement Agreement

  itself contemplates a basis for negating the Agreement, providing that the Agreement would

  terminate should a court find the Licensed Patents invalid or unenforceable. Defendants have

  therefore sufficiently established that an actual controversy exists as to their patent invalidity

  claims. Although the Declaratory Judgment Act requires an independent jurisdictional basis for

  bringing an action in federal court, Defendants’ counterclaim, as discussed infra, arises under

  patent laws and are therefore properly before this Court. See Skelly Oil Co. v. Phillips Petroleum

  Co., 339 U.S. 667 (1950) (“[T]he requirements of jurisdiction—the limited subject matters which

  alone Congress had authorized the District Courts to adjudicate—were not impliedly repealed or

  modified [by the Declaratory Judgment Act]”.). See also 28 U.S.C. § 1338 (“The district courts

  shall have original jurisdiction of any civil action arising under any Act of Congress relating to

  patents.”).

                b. Counts I and III

          Because the Declaratory Judgment Act provides that a court “may declare the rights and

  other legal relations of any interested party,” the Act grants a court “unique and substantial

  discretion in deciding whether to declare the rights of litigants.” MedImmune, Inc. v. Genentech,


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  Inc., 549 U.S. 118, 136 (2007) (citing 28 U.S.C. § 2201(a)). Thus, when presented with a

  redundant counterclaim for declaratory judgment, a court may either strike or dismiss the filing.

  When determining whether to exercise jurisdiction over a counterclaim, or, alternatively,

  whether to dismiss the same as redundant, a court must consider whether the declaratory action

  serves a useful purpose. Medmarc Cas. Ins. Co. v. Pineiro & Byrd, PLLC, 783 F. Supp. 2d 1214,

  1217 (S.D. Fla. 2011) (internal quotation omitted). In order to discern whether a declaratory

  action serves a useful purpose, courts should consider “whether resolution of plaintiff’s claim,

  along with the affirmative defenses asserted by defendant[], would resolve all questions raised by

  the counterclaim.” Id. (internal quotation omitted).

         Here, Count I of Defendants’ counterclaims, seeking a declaratory judgment of Non-

  Infringement of the Patents, is repetitive of Defendants’ second affirmative defense, Non-

  Practice/Non-Infringement of Patents. Compare Second Separate Defense, ECF No. [5-5] at 9-10

  (“To the extent any claim of the Patents may be valid and enforceable, which Defendants

  expressly deny, Defendants have not practiced any claim of the Patents, willfully or otherwise . .

  . further, to the extent Plaintiff terminated the Agreement, Defendants have not infringed any

  claim of the Patents . . .”) with Count I, ECF No. [5-5] at 21-22 (“Defendants . . . have not

  engaged in any activities that practice any claim of the Patents . . . so as to (a) constitute one or

  more licensed transaction(s) under the Agreement, and/or (b) to the extent Alexsam is claiming

  termination of the Agreement and effectively alleging patent infringement, to constitute

  infringement of any claim of the Patents.”). Certainly a decision by the Court that Defendants

  had not infringed the Licensed Patents, as asserted in the second affirmative defense, would

  resolve the need for a declaratory judgment that Defendants did not infringe the Patents.




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         Additionally, Count III of Defendant’s counterclaims, seeking a declaratory judgment of

  No Breach of the License Agreement, amounts simply to a denial of Plaintiff’s claim for breach

  of contract. A decision that Defendants did not breach the Settlement Agreement would obviate

  the need for a declaratory judgment stating the same. Accordingly, the Court will dismiss both

  Counts I and III of Defendants’ Counterclaims.

                                  III. MOTION FOR REMAND

      A. Legal Standard

         The party invoking this Court’s jurisdiction bears the burden of proof and must support

  its allegations of jurisdictional facts with competent proof. See Hertz Corp. v. Friend, 559 U.S.

  77, 96-97 (2010) (citing Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377

  (1994)) (further citations omitted). Although a defendant has a statutory right to remove an

  action to federal court, “the right of removal is strictly construed, as it is considered a federal

  infringement on a state’s power to adjudicate disputes in its own courts.” Rietwyk v. State Farm

  Mut. Auto. Ins. Co., 2010 WL 2219730, at *1 (S.D. Fla. June 2, 2010) (citing Shamrock Oil &

  Gas Corp. v. Sheets, 313 U.S. 100, 108-09 (1941)); see also Univ. of S. Alabama v. Am. Tobacco

  Co., 168 F.3d 405, 411 (11th Cir. 1999). Thus, “when the court’s jurisdiction over a case is

  doubtful, doubts are resolved in favor of remand.” Id. (citing Crowe v. Coleman, 113 F.3d 1536,

  1539 (11th Cir. 1997)); see also Whitt v. Sherman Int’l Corp., 147 F.3d 1325, 1329 (11th Cir.

  1998) (“[I]t is axiomatic that ambiguities are generally construed against removal.” (citation and

  internal quotation marks omitted)); Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir.

  1994) (“[W]here plaintiff and defendant clash about jurisdiction, uncertainties are resolved in

  favor of remand.”).




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      B. Discussion

         Plaintiff moves for remand of this matter to the Circuit Court of the 17th Judicial Circuit

  in and for Broward County, Florida. According to Plaintiff, its Motion for Remand is premised

  on the assumption that Plaintiff’s Motion to Dismiss will be granted, under 28 U.S.C. § 1447. In

  the alternative, Plaintiff seeks remand of its state law breach of contract claims under 28 U.S.C. §

  1454(d).

         Plaintiff argues that a federal question must be raised in Plaintiff’s Complaint for a

  federal court to have subject matter jurisdiction to hear it. Indeed, Plaintiff asserts, “to find

  federal question jurisdiction in [Plaintiff’s] breach of contract claims would turn the well-pleaded

  complaint rule on its head, making [Plaintiff] the master of nothing”. See Repl. at 4 (quotations

  and citation omitted). However, Section 1454 (also known as the “Holmes Group Fix”) serves as

  an exception to the general rule that federal question jurisdiction only exists when the plaintiff’s

  claim includes a cause of action arising under federal law, see Vaden v. Discover Bank, 556 U.S.

  49 (2009), by specifying that claims arising under any Act of Congress relating to patents may be

  removed “by any party.” 28 U.S.C. § 1454(a)-(b). See H.R. REP. 112-98, 54, 2011 U.S.C.C.A.N.

  67, 85 (“The Supreme Court ruled in 2002 [in Holmes Group, Inc. v. Vornado Air Circulation

  Syst., Inc., 535 U.S. 826 (2002)] . . . that patent counterclaims do not give the Federal Circuit

  appellate jurisdiction over a case. [Section 1454] clarifies the jurisdiction of the US district

  courts and stipulates that the US Court of Appeals for the Federal Circuit has jurisdiction over

  appeals involving compulsory patent counterclaims.”). Therefore, Defendants have properly

  removed this action if a claim asserted by either party arises under patent law.

          Courts have long held that federal courts do not have exclusive jurisdiction “of all

  questions in which a patent may be the subject-matter of the controversy,” Gunn v. Minton, 133


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  S.Ct. 1059, 1068 (2013) (quotation and citation omitted). However, several courts—in the wake

  of Section 1454—have recently found that a breach of contract claim raises a federal question of

  patent law when the court is required to determine whether the accused products infringe. See

  e.g. U.S. Valves, Inc. v. Dray, 212 F.3d 1368, 1372 (Fed. Cir. 2000) (claim “required a

  determination of whether [Defendant’s product] infringed the patents, and patent law was a

  necessary element of [Plaintiff’s] breach of contract claim”); Jang v. Boston Scientific Corp., 767

  F.3d 1334 (Fed. Cir. 2014) (breach of contract claim in which resolution of the contract claim

  itself required resolution of underlying issues of infringement and, potentially, determination of

  “the extent to which validity is made relevant to the resolution of the breach-of-contract claim by

  the language of the contract itself”). Cf Gunn, 133 S.Ct. at 1068 (holding that a federal question

  was not raised because, “although the courts must answer a question of patent law to resolve

  [Plaintiff’s] legal malpractice claim, their answer will have no broader effects. It will not stand as

  binding precedent for any future patent claim; it will not even affect the validity of [Plaintiff’s]

  patent.”). Here, Defendant’s invalidity counterclaim as well as its patent-related affirmative

  defenses, including non-infringement, require the Court to determine whether the Licensed

  Patents are valid on grounds such as the newly articulated standard set forth in Alice Corp. Pty v.

  CLS Bank Int’l, 134 S. Ct. 2347 (2014), as well as to apply patent claim terms to the accused

  services to determine if they are subject to the Settlement Agreement. Accordingly, Defendants

  have properly removed the instant action to this Court as arising under patent law pursuant to

  Section 1454.

      C. Supplemental Jurisdiction

         Plaintiff requests that its breach of contract claim be severed and remanded. See 28

  U.S.C. § 1454(d) (“If a civil action is removed solely under this section, the district court may . .


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  . remand any claims within the supplemental jurisdiction of the district court under section

  1367.”). Section 1367 provides that “in any civil action of which the district courts have original

  jurisdiction, the district courts shall have supplemental jurisdiction over all other claims that are

  so related . . . that they form part of the same case or controversy.” 28 U.S.C. § 1367(a). Here,

  Plaintiff’s breach of contract claims and Defendants’ invalidity counterclaim clearly form part of

  the same case or controversy. Moreover, none of the exceptions to supplemental jurisdiction

  provided under Section 1367(c) apply. Plaintiff’s breach of contract claim does not raise a “novel

  or complex issue of State law” nor does it “substantially predominate” over Defendants’

  invalidity counterclaim. This Court has not dismissed all of Defendants’ counterclaims and does

  not find any other “compelling reasons for declining jurisdiction.” See 28 U.S.C. § 1367(c).

  Accordingly, the Court finds it proper to exercise supplemental jurisdiction over Plaintiff’s state

  law claims pursuant to 28 U.S.C. § 1367 and does not find adequate justification to sever and

  remand those state law claims as permitted under Section 1454(d). Plaintiff’s Motion to Remand

  is therefore denied.

      D. Motion for Costs

            Plaintiff asserts that Defendants should pay Plaintiff’s costs of having to move for

  remand. See Mot. for Remand at 15. As the Court has found in favor of Defendants and has

  denied Plaintiff’s Motion for Remand, Plaintiff’s request to be awarded costs is accordingly

  denied.

                                     IV. SERVICE OF PROCESS

            In their Counterclaims, Defendants assert that Plaintiff failed to properly serve Defendant

  Fidelity National Information Services, Inc. (“FIS”). Specifically, Defendants maintain that

  Plaintiff’s representative wrongly served a different entity, Fidelity National Financial, Inc.


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  (“FNF”), and though they “promptly informed” Plaintiff of this error, Plaintiff failed to perfect

  service on FIS. ECF No. [5-5] at 16, ¶ 11. On August 20, 2015, this Court entered an Order on

  Post-Removal Procedures, ECF No. [4], which required Plaintiff to file a notice informing the

  Court as to the status of service of process on FIS. Plaintiff filed a notice, asserting that service

  on FIS was sufficient, arguing that FIS and FNF share the same address to which the Summons

  and Complaint were delivered; that FNF is the former parent company of FIS; and that it is clear

  FIS has received the Summons and Complaint as Defendants admit that FIS owns the other two

  Defendants. Plaintiff also contends that even if there were some defect in the service of process,

  Defendants have waived any objection to personal jurisdiction by seeking affirmative relief in

  both the state court and this Court, and by jointly filing their Answer, Affirmative Defenses, and

  Counterclaims. Defendants counter that service was not sufficient and Defendants did not waive

  service. See ECF No. [17].

         Under Florida law, “every defense in law or fact to a claim for relief in a pleading shall

  be asserted in the responsive pleading,” with the exception of a number of specific defenses,

  including personal jurisdiction, which may be made by motion at the option of the pleader. Fla.

  R. Civ. P. 1.140(b). With a few exceptions, a party waives all defenses and objections that are

  not presented either by motion or in a responsive pleading. 1.140(h)(1)-(2). In their Answer,

  Defendants’ First Separate Defense—Lack of Jurisdiction—addresses the asserted lack of

  jurisdiction over Plaintiff’s Complaint, but not personal jurisdiction. Defendants do assert within

  their Counterclaim that service was not proper. See Counterclaims, ECF No. [5-5], at ¶ 11.

  However, Defendants never filed a motion to dismiss or otherwise sought relief from the state

  court for lack of personal jurisdiction. The Defendants’ efforts in seeking affirmative relief in

  this action negate any claim that it has not properly submitted itself to the jurisdiction of the


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  court. Accordingly, the Court finds that Defendant FIS has waived service and this Court

  properly asserts personal jurisdiction over FIS.3

                                              V. CONCLUSION

           For the foregoing reasons and as detailed above, it is hereby ORDERED AND

  ADJUDGED as follows:

               1. Plaintiff’s Motion to Dismiss Certain Affirmative Defenses and Counterclaims,

                   ECF No. [18], is GRANTED IN PART and DENIED IN PART. Count I and

                   Count III of Defendants’ Counterclaims are DISMISSED.

               2. Plaintiff Alexsam’s Motion for Remand, ECF No. [19], is DENIED. Plaintiff’s

                   Motion for Costs is DENIED.

               3. Plaintiff shall file its Answer to Defendants’ Counterclaim on or before

                   December 6, 2015.



      DONE AND ORDERED in Chambers in Miami, Florida, this 19th day of November, 2015.




                                                                 _________________________________
                                                                 BETH BLOOM
                                                                 UNITED STATES DISTRICT JUDGE

  cc:      counsel of record


                                                              
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     It is also notable that Defendants offered to Plaintiff a waiver of service in exchange for an extension for
  all Defendants to respond to the Complaint, see ECF No. [17-1], to which Plaintiff purportedly did not
  respond. While the Court commends Defendants’ amiable attempt, common sense dictates that
  Defendants’ acknowledgement of the attempted service and offer of waiver indicates that the practical
  effect of service of process—namely, notice of the suit and the claims against Defendants—have not been
  frustrated here. The Court, therefore, accepts the invitation the Defendant initially offered and, therefore,
  declines to expend further resources on the issue.

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